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              12                               UNITED STATES DISTRICT COURT

              13                               EASTERN DISTRICT OF CALIFORNIA

              14
              15 RALPH COLEMAN, et al.,                        Case No. 2:90-cv-00520-KJM-DB
              16                 Plaintiffs,                   STIPULATION AND ORDER
                                                               CONFIRMING ATTORNEYS’ FEES
              17         v.                                    AND COSTS FOR THE FOURTH
                                                               QUARTER OF 2018
              18 GAVIN NEWSOM, et al.,
                                                               Judge: Hon. Deborah Barnes
              19                 Defendants.
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[3365158.1]

                              STIPULATION AND ORDER CONFIRMING ATTORNEYS’ FEES AND COSTS FOR THE
                                                    FOURTH QUARTER OF 2018
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               1         Pursuant to the periodic fees process in this case, Plaintiffs sent their Quarterly
               2 Statement for the Fourth Quarter of 2018 to Defendants via overnight delivery on
               3 February 5, 2019. The parties completed their meet and confer process on March 20,
               4 2019. The parties have resolved all disputes regarding fees and costs for the Fourth
               5 Quarter of 2018, with an agreement to reduce claimed amounts to a total of $940,831.96
               6 calculated at a rate of $220.50 per hour pursuant to 42 U.S.C.A. § 1997e(d)(3).
               7         THEREFORE, THE PARTIES HEREBY STIPULATE AND AGREE that
               8 $940,831.96 plus interest is due and collectable as of forty-five days from the date of entry
               9 of this Order. Interest on these fees and costs will run from March 9, 2019 (31 days after
              10 Defendants’ receipt of Plaintiffs’ statement), accruing at the rate provided by 28 U.S.C.
              11 § 1961.
              12         IT IS SO STIPULATED.
              13
              14 DATED: March 22, 2019                          /s/ Elise Thorn
                                                                Elise Thorn
              15                                                Deputy Attorney General
              16                                                Attorneys for Defendants

              17
              18 DATED: March 22, 2019                          /s/ Lisa Ells
                                                                Lisa Ells
              19
                                                                ROSEN BIEN GALVAN & GRUNFELD LLP
              20                                                Attorneys for Plaintiffs

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              22         IT IS SO ORDERED.
              23 Dated: March 28, 2019
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[3365158.1]
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                            STIPULATION AND ORDER CONFIRMING ATTORNEYS’ FEES AND COSTS FOR THE
                                                  FOURTH QUARTER OF 2018
